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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

   

Southern District of Texas

MAY 2 7 2018

 

 

United States of America )
V. ) David J, Bradley, Clerk of Court
Anthony BROWN Jr. Case No.
)
H19-0926M
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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 23, 2019 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
4901; Escape-Escape from a
HalfwayHouse

This criminal complaint is based on these facts:

a Continued on the attached sheet. Lo

Complainant's signature

14-5 ner using

Printed name and title

Sworn to before me and signed in my presence.

Date: j OY ee — A
Vie ignature

City and state: Sie thn . 1X nawry Je Lh be,

Printed name and title

 
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Affidavit in Support of Criminal Complaint

I, Moncies Bara, being duly sworn hereby depose and state:

1, That I am a Deputy United States Marshal with the United States Marshal Service
in Houston, Texas and have been employed in this capacity since October 2005.

2. During my employment with the United States Marshal Service, I have trained
investigations relating to the escape of federal prisoners. I am currently assigned to the
Gulf Coast Violent Offenders & Fugitive Task Force. My primary responsibility as a
member of the Task Force is to conduct fugitive investigations.

3. This affidavit is prepared in conjunction with the request for a complaint and
arrest warrant for Anthony BROWN Jr. who escaped from the Leidel RRC halfway
house detention facility located at 1819 Commerce St, Houston, Texas 77002 on April
23, 2019, at 7:30pm.

4, Leidel RRC Houston is a privately operated halfway house contracted by the
United States Bureau of Prisons to house federal prisoners. On April 8, 2019 Anthony
BROWN Jr. was placed in the Leidel RRC facility by the United States Bureau of Prisons
to serve the remainder of his federal sentence.

>: On April 23, 2019, at 7:30pm, Leidel RRC staff conducted an accountability
check on inmate BROWN’s home detention site. Inmate BROWN was unaccountable.
U.S. Marshals office was notified at approximately 06:20am. The USMS also received a
BP A0393 NOTICE OF ESCAPED FEDERAL PRISONER identifying BROWN as the

escapee.

6. On April 24, 2019, after being notified of the escape, the U.S. Marshals declared
BROWN as an escaped prisoner and entered him in NCIC, for the violation of Title 18
USC 751(a), and began the fugitive investigation.

7. Based on the fugitive investigation, I believe that BROWN has escaped from
home detention as supervised by Leidel RRC.

8. I believe that probable cause exists to believe that Anthony BROWN Jr. violated
Title 18, United States Code, Section 751(a); Escape.

9. On May 4, 2019 BROWN was stopped and arrested by the Department of Public
Safety (DPS) and was charged with a new offense of Felon-Possession, of a Firearm and
was also detained based on the NCIC entry of Escape. He is currently in custody on the

new local charge.
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Moncies Bara

Deputy U.S. Marshal
United States Marshal Service

Sworn to before me this 2bth day of May, 2019, and I find probable cause.

 
